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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND
Baltimore _—— Division

InRe: Keith Stevens |
Melissia Stevens | Bankruptcy Case No. 07-19162

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|

Chapter 13
Debtor(s)

 

PRE-CONFIRMATION CERTIFICATION

Debtor(s) hereby certify under penalty of perjury that the following statements are true and

correct:

1. Debtor(s) has/have paid any fee, charge, amount required under Sec. 1930 of title 28.
U.S.C, or by the plan (i.e. adequate protection payments) to be paid before confirmation.

2. Debtor(s) has/have paid all amounts that are required under a domestic support obligation
and that first became payable after the date of the filing of the petition, if applicable.

3. Debtor(s) has/have filed all applicable Federal, State, and Local tax returns with the
appropriate taxing authorities for all taxable periods ending during the 4-year period
ending on the date of the filing of the petition.

Debtor(s) affirm that the plan is proposed in accordance with 11 U.S.C §1325 and request said

plan be confirmed.

Date: 2-26-08 /s/ Keith Stevens

 

Debtor’s Signature

Date: 2-26-08 /s/ Melissia Stevens

 

 

Joint Debtor’s Signature

Local Bankruptcy Form O
